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                               No. 23-13095
            UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT


                 IN RE: GEORGIA SENATE BILL 202


             On Appeal from the United States District Court
           for the Northern District of Georgia, Atlanta Division
                          No. 1:21-mi-55555-JPB


    CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
 DISCLOSURE STATEMENT OF STATE DEFENDANTS-APPELLANTS
       THE STATE OF GEORGIA, GOVERNOR OF GEORGIA,
  GEORGIA SECRETARY OF STATE, GEORGIA STATE ELECTION
    BOARD, MATTHEW MASHBURN, SARA TINDALL GHAZAL,
EDWARD LINDSEY, JANICE W. JOHNSTON, WILLIAM S. DUFFEY, JR.
      AND DISTRICT ATTORNEY FOR DOUGHERTY COUNTY
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                 CERTIFICATE OF INTERESTED PERSONS

         Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rules 26.1-1–26.1-3, State Defendants-Appellants The State of Georgia, Governor

of the State of Georgia, Georgia Secretary of State, Georgia State Election Board,

Matthew Mashburn, Sara Tindall Ghazal, Edward Lindsey, Janice W. Johnston,

William S. Duffey, Jr., and District Attorney for Dougherty County, identify all

Counsel, persons, associations of persons, firms, partnerships, or corporations that

have an interest in the outcome of this case:

   1.    Abbott, Robert, Defendant;

   2.    Abudu, Nancy, Attorney for Plaintiffs-Appellees;

   3.    ACLU Foundation of Georgia, Counsel for Plaintiffs-Appellees;

   4.    ACLU Foundation of Georgia, Inc., Counsel for Plaintiffs-Appellees;

   5.    Adegbile, Debo P., Counsel for Plaintiffs-Appellees;

   6.    Aden, Leah, Counsel for Plaintiffs-Appellees;

   7.    Advancement Project, Counsel for Plaintiffs-Appellees;

   8.    Ameri, Mana, Counsel for Plaintiffs-Appellees;

   9.    American Civil Liberties Union Foundation of Georgia, Counsel for

         Plaintiffs-Appellees;



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 10.   American Civil Liberties Union Foundation, Inc., Counsel for Plaintiffs-

       Appellees;

 11.   Andrews, Wanda, Defendant;

 12.   Aquino, Nora, Plaintiff-Appellee;

 13.   Asian Americans Advancing Justice-Asian Law Caucus, Counsel for

       Plaintiffs-Appellees;

 14.   Asian Americans Advancing Justice-Atlanta, Plaintiff-Appellee;

 15.   Augusta Georgia Law Department, Counsel for Defendant;

 16.   Ausburn, Deborah, Counsel for State Defendants-Appellants;

 17.   Awuku, George, Defendant;

 18.   Banks, Marques, Counsel for Plaintiffs-Appellees;

 19.   Banter, James, Counsel for Defendant;

 20.   Barkdull, Annika Boone, Counsel for State Defendants-Appellants;

 21.   Barnes, Sherry, Defendant;

 22.   Barrett, James, Counsel for State Defendants-Appellants;

 23.   Barron, Richard, Defendant;

 24.   Bartolomucci, H. Christopher, Counsel for State Defendants-Appellants;

 25.   Beausoleil, William, Counsel for Plaintiffs-Appellees;

 26.   BECK OWEN & MURRAY, Counsel for Defendant;

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 27.   Betakes, Steven, Counsel for Intervenor-Defendants;

 28.   Belichick, Joseph, Counsel for Plaintiffs-Appellees;

 29.   Bell, Jordan, Counsel for Defendant;

 30.   Bennette, Matlacha, Counsel for Plaintiffs-Appellees;

 31.   Black Voters Matter Fund, Plaintiff-Appellee;

 32.   Blender, Matthew, Defendant;

 33.   Bloodworth, Kristin, Counsel for Defendant;

 34.   Boulee, Honorable J. P., United States District Court Judge;

 35.   Bowman, Brad, Counsel for Defendant;

 36.   Boyle, Donald, Counsel for State Defendants-Appellants;

 37.   Broder, Karl, Counsel for Defendant;

 38.   Brooks, Jessica, Defendant;

 39.   Brooks, Sofia, Counsel for Plaintiffs-Appellees;

 40.   Brown, Marcia, Defendant;

 41.   Bruning, Stephen, Defendant;

 42.   Bruning, Steven, Defendant;

 43.   Bryan, Bennett, Counsel for Defendant;

 44.   Burwell, Kaye, Counsel for Defendant;

 45.   Campbell-Harris, Dayton, Counsel for Plaintiffs-Appellees;

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 46.   Carr, Christopher M., Attorney General of the State of Georgia, Counsel

       for State Defendants-Appellants;

 47.   Carver, William, Counsel for Intervenor-Defendants;

 48.   Cathey, Thomas, Counsel for Defendant;

 49.   CHALMERS, ADAMS, BACKER & KAUFMAN, LLC, Counsel for Defendant;

 50.   Chatham County Attorney, Counsel for Defendant;

 51.   Chatham County Board of Elections, Defendant;

 52.   Chatham County Board of Registrars, Defendant;

 53.   Clarke County Board of Elections and Voter Registration, Defendant;

 54.   Clayton County Board of Elections and Registration, Defendant;

 55.   Cobb County Board of Elections and Registration, Defendant;

 56.   Cochran, Ken, Defendant;

 57.   Columbia County Board of Elections, Defendant;

 58.   Columbia County Board of Registrars, Defendant;

 59.   Common Cause, Plaintiff-Appellee;

 60.   CONSOVOY MCCARTHY PLLC, Counsel for Intervenor-Defendants;

 61.   Cramer, Raisa, Counsel for Plaintiffs-Appellees;

 62.   Crawford, Teresa, Defendant;

 63.   CROWELL & MORING, LLP, Counsel for Plaintiffs-Appellees;

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 64.   Cushman, Ann, Defendant;

 65.   Cusick, John, Counsel for Plaintiffs-Appellees;

 66.   Dasgupta, Riddhi, Counsel for Defendants-Appellants;

 67.   Dave, Charles, Defendant;

 68.   Davenport, Jennifer, Counsel for Defendant;

 69.   DAVIS WRIGHT TREMAINE LLP, Counsel for Plaintiffs-Appellees;

 70.   Davis, Britton, Counsel for Plaintiffs-Appellees;

 71.   Day, Stephen, Defendant;

 72.   DeKalb County Board of Registrations and Elections, Defendant;

 73.   DeKalb County Law Department, Counsel for Defendant;

 74.   Delta Sigma Theta Sorority, Inc., Plaintiff-Appellee;

 75.   Denmark, Emilie, Counsel for Defendant;

 76.   DENTONS US LLP, Counsel for Intervenor-Defendants;

 77.   Deshazior, Zurich, Defendant;

 78.   DeThomas, Courtney, Counsel for Plaintiffs-Appellees;

 79.   Dianis, Judith, Counsel for Plaintiffs-Appellees;

 80.   Dickey, Gilbert, Counsel for Intervenor-Defendants;

 81.   Dicks, Terence, Defendant;

 82.   Dimmick, Brian, Counsel for Plaintiffs-Appellees;

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 83.   DiStefano, Don, Defendant;

 84.   Doss, Travis, Defendant;

 85.   Dozier, Shauna, Defendant;

 86.   Drennon, Baxter, Counsel for Intervenor-Defendants;

 87.   Duffey, William, Jr., State Defendant-Appellant;

 88.   Duffie, Wanda, Defendant;

 89.   Durbin, Jauan, Plaintiff-Appellee;

 90.   Durso, Katherine, Defendant;

 91.   Edwards, Gregory, District Attorney for Dougherty County, State

       Defendant;

 92.   ELIAS LAW GROUP LLP, Counsel for Plaintiffs-Appellees;

 93.   Ellington, Thomas, Defendant;

 94.   Enjeti-Sydow, Anjali, Plaintiff-Appellee;

 95.   Evans-Daniel, Karen, Defendant;

 96.   Evans, James, Counsel for Defendant;

 97.   Evans, Rachel, Counsel for Plaintiffs-Appellees;

 98.   Eveler, Janine, Defendant;

 99.   Falk, Donald M., Counsel for State Defendants-Appellants;

 100. Fambrough, Willa, Defendant;

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 101. Faransso, Tania, Counsel for Plaintiffs-Appellees;

 102. Farrell, Gregory, Counsel for Plaintiffs-Appellees;

 103. Feldsherov, Ilya, Counsel for Plaintiffs-Appellees;

 104. FENWICK & WEST, LLP, Counsel for Plaintiffs-Appellees;

 105. Field, Brian J., Counsel for State Defendants-Appellants;

 106. First Congregational Church, United Church of Christ Incorporated,

       Plaintiff-Appellee;

 107. Fogelson, Matthew, Counsel for Plaintiffs-Appellees;

 108. Forsyth County Board of Voter Registrations and Elections, Defendant;

 109. Fortier, Lucas, Counsel for Plaintiffs-Appellees;

 110. Foster, Mikayla, Counsel for Plaintiffs-Appellees;

 111. FREEMAN MATHIS & GARY, LLP, Counsel for Defendant;

 112. Fulton County Attorney’s Office, Counsel for Defendant;

 113. Fulton County Registration and Elections Board, Defendant;

 114. Galeo Latino Community Development Fund, Inc., Plaintiff-Appellee;

 115. Gammage, Keith, Defendant;

 116. Garabadu, Rahul, Counsel for Plaintiffs-Appellees;

 117. Gartland, Pat, Defendant;

 118. Gay, Nancy, Defendant;

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 119. Geiger, Debra, Defendant;

 120. Georgia Adapt, Plaintiff-Appellee;

 121. Georgia Advocacy Office, Plaintiff-Appellee;

 122. Georgia Coalition for the People’s Agenda, Inc., Plaintiff-Appellee;

 123. GEORGIA DEPARTMENT OF LAW, Counsel for State Defendants-

       Appellants;

 124. Georgia Latino Alliance for Human Rights, Inc., Plaintiff-Appellee;

 125. Georgia Muslim Voter Project, Plaintiff-Appellee;

 126. Georgia Republican Party, Inc., Intervenor-Defendant;

 127. Georgia State Conference of the NAACP, Plaintiff-Appellee;

 128. Georgia State Election Board, Defendant;

 129. Ghazal, Sara, State Defendant;

 130. Gibbs, Fannie, Plaintiff-Appellee;

 131. Gillon, Thomas, Defendant;

 132. Givens, Diane, Defendant;

 133. Gossett, David, Counsel for Plaintiffs-Appellees;

 134. Green, Tyler, Counsel for Intervenor-Defendants;

 135. Greenbaum, Jon, Counsel for Plaintiffs-Appellees;

 136. GREENBERG TRAURIG, LLP, Counsel for Defendant;

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  137. Groves, Angela, Counsel for Plaintiffs-Appellees;

  138. Gwinnett County Board of Registrations and Elections, Defendant;

  139. Gwinnett County Department of Law, Counsel for Defendant;

  140. HALL BOOTH SMITH, P.C., Counsel for Intervenor-Defendants;

  141. Hall County Board of Elections and Registration, Defendant;

  142. Hall County Government, Counsel for Defendant;

  143. Hall, Dorothy, Defendant;

  144. Hall, John, Counsel for Intervenor-Defendants;

  145. Hamilton, Brittni, Counsel for Plaintiffs-Appellees;

  146. Hancock, Jack, Counsel for Defendant;

  147. Hart, Ralph, Counsel for Defendant;

  148. Hart, Twyla, Defendant;

  149. Hasselberg, Emily, Counsel for Plaintiffs-Appellees;

  150. Hayes, Vilia, Counsel for Plaintiffs-Appellees;

  151. HAYNIE, LITCHFIELD & WHITE, PC, Counsel for Defendant;

  152. Hazard, Joel, Defendant;

  153. Heard, Bradley, Counsel for Plaintiffs-Appellees;

  154. Heimes, Marianne, Defendant;

  155. Henseler, James, Counsel for Plaintiffs-Appellees;

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  156. Herren, Thomas, Counsel for Plaintiffs-Appellees;

  157. Hiatt, Alexandra, Counsel for Plaintiffs-Appellees;

  158. Ho, Dale, Counsel for Plaintiffs-Appellees;

  159. Hodge, Malinda, Defendant;

  160. Houk, Julie, Counsel for Plaintiffs-Appellees;

  161. Hoyos, Luis, Counsel for Plaintiffs-Appellees;

  162. HUGHES HUBBARD & REED, LLP, Counsel for Plaintiffs-Appellees;

  163. Hughes, Aileen, Counsel for Plaintiffs-Appellees;

  164. HULL BARRETT, PC, Counsel for Defendant;

  165. Ingram, Randy, Defendant;

  166. Jacoutot, Bryan, Counsel for State Defendants-Appellants;

  167. Jaffe, Erik S., Counsel for State Defendants-Appellants;

  168. Jahangiri, Mahroh, Counsel for Plaintiffs-Appellees;

  169. Jaikumar, Arjun, Counsel for Plaintiffs-Appellees;

  170. JAMES BATES BRANNAN GROOVER LLP, Counsel for Defendant;

  171. JARRARD & DAVIS, LLP, Counsel for Defendant;

  172. Jasrasaria, Jyoti, Counsel for Plaintiffs-Appellees;

  173. Jaugstetter, Patrick, Counsel for Defendant;

  174. Jedreski, Matthew, Counsel for Plaintiffs-Appellees;

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  175. Jester, Alfred, Defendant;

  176. Jester, Nancy, Defendant;

  177. Jhaveri, Sejal, Counsel for Plaintiffs-Appellees;

  178. Johnson, Aaron, Defendant;

  179. Johnson, Ben, Defendant;

  180. Johnson, Darlene, Defendant;

  181. Johnson, Melinda, Counsel for Plaintiffs-Appellees;

  182. Johnston, Janice W., State Defendant;

  183. Joiner, Amelia, Counsel for Defendant;

  184. Kanu, Nkechi, Counsel for Plaintiffs-Appellees;

  185. Kaplan, Mike, Defendant;

  186. KASTORF LAW, LLC, Counsel for Plaintiffs-Appellees;

  187. Kastorf, Kurt, Counsel for Plaintiffs-Appellees;

  188. Kaufman, Alex, Counsel for Intervenor-Defendants;

  189. KEKER VAN NEST & PETERS LLP, Counsel for Plaintiffs-Appellees;

  190. Kemp, Brian, Governor of the State of Georgia, State Defendant-

        Appellant;

  191. Kennedy, David, Defendant;

  192. Kennedy, Kate, Counsel for Plaintiffs-Appellees;

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  193. Keogh, William, Counsel for Defendant;

  194. Khan, Sabrina, Counsel for Plaintiffs-Appellees;

  195. Kim, Danielle, Counsel for Plaintiffs-Appellees;

  196. Kingsolver, Justin, Counsel for Plaintiffs-Appellees;

  197. Klein, Spencer, Counsel for Plaintiffs-Appellees;

  198. Knapp, Halsey, Counsel for Plaintiffs-Appellees;

  199. Koorji, Alaizah, Counsel for Plaintiffs-Appellees;

  200. KREVOLIN & HORST, LLC, Counsel for Plaintiffs-Appellees;

  201. Kucharz, Kevin, Counsel for Defendant;

  202. Lakin, Sophia, Counsel for Plaintiffs-Appellees;

  203. Lam, Leo, Counsel for Plaintiffs-Appellees;

  204. Lang, Antan, Defendant;

  205. LaRoss, Diane, Counsel for State Defendants-Appellants;

  206. Latino Community Fund of Georgia, Plaintiff-Appellee;

  207. Lauridsen, Adam, Counsel for Plaintiffs-Appellees;

  208. LAW OFFICE OF BRYAN L. SELLS, LLC, Counsel for Plaintiffs-Appellees;

  209. LAW OFFICE OF GERALD R WEBER, LLC, Counsel for Plaintiffs-

        Appellees;

  210. LAW OFFICE OF HEATHER SZILAGYI, Counsel for Plaintiffs-Appellees;

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  211. Lawyers’ Committee for Civil Rights Under Law, Counsel for Plaintiffs-

        Appellees;

  212. League of Women Voters of Georgia, Inc., Plaintiff-Appellee;

  213. Leung, Kimberly, Counsel for Plaintiffs-Appellees;

  214. Lewis, Anthony, Defendant;

  215. Lewis, Joyce, Counsel for Plaintiffs-Appellees;

  216. Lin, Stephanie, Counsel for Plaintiffs-Appellees;

  217. Lindsey, Edward, State Defendant;

  218. Lower Muskogee Creek Tribe, Plaintiff-Appellee;

  219. Lowman, David, Counsel for Defendant;

  220. Ludwig, Jordan, Counsel for Plaintiffs-Appellees;

  221. Luth, Barbara, Defendant;

  222. Ma, Eileen, Counsel for Plaintiffs-Appellees;

  223. Mack, Rachel, Counsel for Defendant;

  224. Macon-Bibb County Board of Elections, Defendant;

  225. Mahoney, Thomas, Defendant;

  226. Manifold, Zach, Defendant;

  227. Martin, Grace Simms, Counsel for Defendants;

  228. Mashburn, Matthew, State Defendant-Appellant;

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  229. May, Caitlin, Counsel for Plaintiffs-Appellees;

  230. Maynard, Darius, Former Defendant;

  231. McAdams, Issac, Defendant;

  232. McCandless, Spencer, Counsel for Plaintiffs-Appellees;

  233. McCarthy, Thomas, Counsel for Intervenor-Defendants;

  234. McClain, Roy, Defendant;

  235. McCord, Catherine, Counsel for Plaintiffs-Appellees;

  236. McFalls, Tim, Defendant;

  237. McFarland, Ernest, Counsel for Plaintiffs-Appellees;

  238. McGowan, Charlene, Counsel for State Defendants-Appellants;

  239. Mcrae, Colin, Defendant;

  240. Melcher, Molly, Counsel for Plaintiffs-Appellees;

  241. Metropolitan Atlanta Baptist Ministers Union, Inc., Plaintiff-Appellee;

  242. Miller, Nicholas, Counsel for State Defendants-Appellants;

  243. Milord, Sandy, Counsel for Defendant;

  244. Minnis, Terry, Counsel for Plaintiffs-Appellees;

  245. Mizner, Susan, Counsel for Plaintiffs-Appellees;

  246. Mocine-McQueen, Marcos, Counsel for Plaintiffs-Appellees;

  247. Momo, Shelley, Counsel for Defendant;

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  248. Morrison, Tina, Counsel for Plaintiffs-Appellees;

  249. Mosbacher, Jennifer, Defendant;

  250. Motter, Susan, Defendant;

  251. Murchie, Laura, Counsel for Plaintiffs-Appellees;

  252. Murray, Karen, Defendant;

  253. NAACP Legal Defense and Education Fund, Inc., Counsel for Plaintiffs-

        Appellees;

  254. National Republican Congressional Committee, Intervenor-Defendant;

  255. National Republican Senatorial Committee, Intervenor-Defendant;

  256. Natt, Joel, Defendant;

  257. Nemeth, Miriam, Counsel for Plaintiffs-Appellees;

  258. Nercessian, Armen, Counsel for Plaintiffs-Appellees;

  259. Newland, James, Defendant;

  260. Nguyen, Candice, Counsel for Plaintiffs-Appellees;

  261. Nguyen, Phi, Counsel for Plaintiffs-Appellees;

  262. Nkwonta, Uzoma, Counsel for Plaintiffs-Appellees;

  263. Noa, Jack, Defendant;

  264. NOLAND LAW FIRM, LLC, Counsel for Defendants;

  265. Noland, William H., Counsel for Defendants;

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  266. Norris, Cameron, Counsel for Intervenor-Defendants;

  267. Norse, William, Defendant;

  268. Nwachukwu, Jennifer, Counsel for Plaintiffs-Appellees;

  269. O’Brien, James, Defendant;

  270. O’Connor, Eileen, Counsel for Plaintiffs-Appellees;

  271. O’Lenick, Alice, Defendant;

  272. Olm, Rylee, Counsel for Plaintiffs-Appellees;

  273. Oxford, Neil, Counsel for Plaintiffs-Appellees;

  274. Paik, Steven, Plaintiff-Appellee;

  275. Pant, Shontee, Counsel for Plaintiffs-Appellees;

  276. Paradise, Loree, Counsel for State Defendants-Appellants;

  277. Parker, Warrington, Counsel for Plaintiffs-Appellees;

  278. Pelletier, Susan, Counsel for Plaintiffs-Appellees;

  279. Porter, Megan, Counsel for Plaintiffs-Appellees;

  280. Powell, Laura, Counsel for Plaintiffs-Appellees;

  281. Prince, Joshua, Counsel for State Defendants-Appellants;

  282. Pulgram, Laurence, Counsel for Plaintiffs-Appellees;

  283. Pullar, Patricia, Defendant;

  284. Qadir, Hunaid, Defendant;

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  285. Radzikinas, Carla, Defendant;

  286. Raffensperger, Brad, Secretary of State of Georgia, State Defendant-

        Appellant;

  287. Raffle, Rocky, Defendant;

  288. Ramahi, Zainab, Counsel for Plaintiffs-Appellees;

  289. Rich, James, Counsel for Plaintiffs-Appellees;

  290. Richardson, Jasmyn, Counsel for Plaintiffs-Appellees;

  291. Richmond County Board of Elections, Defendant;

  292. Ringer, Cheryl, Counsel for Defendant;

  293. Rise, Inc., Plaintiff-Appellee;

  294. Rodriguez, Anthony, Defendant;

  295. Rosborough, Davin, Counsel for Plaintiffs-Appellees;

  296. Rosenberg, Ezra, Counsel for Plaintiffs-Appellees;

  297. Rosenberg, Steven, Counsel for Defendant;

  298. Russ, John, Counsel for Plaintiffs-Appellees;

  299. Ruth, Kathleen, Defendant;

  300. Ryan, Elizabeth, Counsel for Plaintiffs-Appellees;

  301. Sabzevari, Arash, Counsel for Defendant;

  302. Sachdeva, Niharika, Counsel for Plaintiffs-Appellees;

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  303. Schaerr, Gene C., Counsel for State Defendants-Appellants;

  304. SCHAERR | JAFFE, LLP, Counsel for State Defendants-Appellants;

  305. Scott, William, Counsel for Defendant;

  306. Seals, Veronica, Defendant;

  307. Segarra, Esperanza, Counsel for Plaintiffs-Appellees;

  308. Sells, Bryan, Counsel for Plaintiffs-Appellees;

  309. Shah, Niyati, Counsel for Plaintiffs-Appellees;

  310. Sheats, Gala, Defendant;

  311. Shelly, Jacob, Counsel for Plaintiffs-Appellees;

  312. Shirley, Adam, Defendant;

  313. Sieff, Adam, Counsel for Plaintiffs-Appellees;

  314. Silas, Tori, Defendant;

  315. Sixth District of the African Methodist Episcopal Church, Plaintiff-

        Appellee;

  316. Smith, Casey, Counsel for Plaintiffs-Appellees;

  317. Smith, Dele, Defendant;

  318. Smith, Mandi, Defendant;

  319. Solh, Chavira, Counsel for Plaintiffs-Appellees;

  320. Solomon, Elbert, Plaintiff-Appellee;

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  321. Sosebee, Charlotte, Defendant;

  322. Southern Poverty Law Center, Counsel for Plaintiffs-Appellees;

  323. Sowell, Gregory, Counsel for Defendant;

  324. Spangler, Herbert, Former Defendant;

  325. Sparks, Adam, Counsel for Plaintiffs-Appellees;

  326. Squiers, Cristina, Counsel for State Defendants-Appellants;

  327. State of Georgia, State Defendant-Appellant;

  328. STEWART MELVIN & FROST, LLP, Counsel for Defendant;

  329. Strawbridge, Patrick, Counsel for Intervenor-Defendants;

  330. Sumner, Stuart, Counsel for Intervenor-Defendants;

  331. Sung, Connie, Counsel for Plaintiffs-Appellees;

  332. Swift, Karli, Defendant;

  333. Szilagyi, Heather, Counsel for Plaintiffs-Appellees;

  334. Tatum, Tobias, Counsel for State Defendants-Appellants;

  335. TAYLOR ENGLISH DUMA LLP, Counsel for State Defendants-Appellants;

  336. Taylor, Wandy, Defendant;

  337. Thatte, Anuja, Counsel for Plaintiffs-Appellees;

  338. The ACLU Foundation Disability Rights Program, Counsel for Plaintiffs-

        Appellees;

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  339. The Arc of the United States, Plaintiff-Appellee;

  340. The Concerned Black Clergy of Metropolitan Atlanta, Inc., Plaintiff-

        Appellee;

  341. The Georgia State Election Board, State Defendant;

  342. The Justice Initiative, Inc., Plaintiff-Appellee;

  343. The New Georgia Project, Plaintiff-Appellee;

  344. The Republican National Committee, Intervenor-Defendant;

  345. The Urban League of Greater Atlanta, Inc., Plaintiff-Appellee;

  346. Thomas, Ethan, Counsel for Plaintiffs-Appellees;

  347. Thompson, Grace, Counsel for Plaintiffs-Appellees;

  348. Till, Ann, Defendant;

  349. Topaz, Jonathan, Counsel for Plaintiffs-Appellees;

  350. Trent, Edward, Counsel for State Defendants-Appellants;

  351. Tucker, William, Counsel for Plaintiffs-Appellees;

  352. Tyson, Bryan, Counsel for State Defendants-Appellants;

  353. Uddullah, Angelina, Plaintiff-Appellee;

  354. Unger, Jess, Counsel for Plaintiffs-Appellees;

  355. United States Department of Justice, Counsel for Plaintiffs-Appellees;

  356. United States of America, Plaintiff-Appellee;

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  357. Van Stephens, Michael, Counsel for Defendant;

  358. Vander Els, Irene, Counsel for Defendant;

  359. Varghese, George, Counsel for Plaintiffs-Appellees;

  360. Varner, Johnny, Defendant;

  361. Vasquez, Jorge, Counsel for Plaintiffs-Appellees;

  362. Vaughan, Elizabeth, Counsel for State Defendants-Appellants;

  363. Waite, Tristen, Counsel for Defendant;

  364. Wang, Emily, Counsel for Plaintiffs-Appellees;

  365. Ward-Packard, Samuel, Counsel for Plaintiffs-Appellees;

  366. Wardenski, Joseph, Counsel for Plaintiffs-Appellees;

  367. Watson, Jeanetta R., Former Defendant;

  368. Webb, Brian K., Counsel for State Defendants-Appellants;

  369. Weber, Gerald, Counsel for Plaintiffs-Appellees;

  370. Weigel, Daniel, Counsel for State Defendants-Appellants;

  371. Wesley, Carol, Defendant;

  372. White, Daniel, Counsel for Defendant;

  373. White, William, Counsel for Intervenor-Defendants;

  374. Wiggins, Larry, Defendant;

  375. Wilberforce, Nana, Counsel for Plaintiffs-Appellees;

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  376. Wilborn, Eric, Counsel for Defendant;

  377. Willard, Russell D., Counsel for State Defendants-Appellants;

  378. Williams, Gilda, Counsel for Plaintiffs-Appellees;

  379. Williams, Tuwanda, Counsel for Defendant;

  380. WILMER CUTLER PICKERING HALE AND DORR LLP, Counsel for

        Plaintiffs- Appellees;

  381. Wilson, Jacob C., Counsel for Defendants;

  382. Wilson, Melanie, Counsel for Defendant;

  383. Wingate, Mark, Defendant;

  384. Winichakul, Pichaya, Counsel for Plaintiffs-Appellees;

  385. Women Watch Afrika, Plaintiff-Appellee;

  386. Woodfin, Conor, Counsel for Intervenor-Defendants;

  387. Woolard, Cathy, Defendant;

  388. Wurtz, Lori, Defendant;

  389. Yoon, Meredyth, Counsel for Plaintiffs-Appellees;

  390. Young, Sean, Counsel for Plaintiffs-Appellees; and

  391. Zatz, Clifford, Counsel for Plaintiffs-Appellees.




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                          In Re: Georgia Senate Bill 202

                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rule 26.1, State Defendants-Appellants state that no publicly traded company or

corporation has an interest in the outcome of this case or appeal.

                                       Respectfully submitted,

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